

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






AP- 75,039






EX PARTE ALBERTO VALDEZ, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


FROM NUECES COUNTY






	 Per curiam.


O P I N I O N




	In his subsequent application for a writ of habeas corpus, applicant claimed that he
is mentally retarded.  We determined that applicant had met the requirements of Code of
Criminal Procedure Article 11.071, § 5, and we remanded to the trial court for findings of
fact and conclusions of law.  The trial court held an evidentiary hearing and found that
applicant is mentally retarded.  The record supports the trial court's findings.  Ex parte
Briseno, 135 S.W.3d 1 (Tex. Crim. App. 2004).  Accordingly, we grant relief.  We reform 


applicant's sentence to life imprisonment in the Texas Department of Criminal Justice
Correctional Institutions Division.  

Delivered November 10, 2004

Publish


